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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
              v.                             :    Criminal Case No. 21-582 (CRC)
                                             :
MICHAEL A. SUSSMANN,                         :
                                             :
                        Defendant.           :


  MOTION TO ADJOURN DEADLINE FOR THE GOVERNMENT’S CIPA SECTION
                        FOUR SUBMISSION

       1.       The United States of America, by and through its attorney, Special Counsel John H.

Durham, respectfully moves the Court to adjourn the deadline to file the Government’s in camera,

ex parte submission pursuant to Section 4 of the Classified Information Procedures Act (“CIPA”),

18 U.S.C. § App. 3. Pursuant to the Court’s pre-trial order, (see Docket No. 30), the Government’s

CIPA Section 4 submission is currently due on March 11, 2022. The Government’s respectfully

requests a two-week extension which would reset that deadline to March 25, 2022.                The

Government has consulted counsel for the defendant who does not oppose the request to the extent

that the requested adjournment would not result in an adjournment of the trial date or any other

associated deadlines.

       2.       As the Government previously advised the Court, the above-referenced case

implicates classified information. To date, the Government is near completion of its review of the

potentially discoverable classified information and has begun its preparation of a draft of its CIPA

Section 4 memorandum.         However, the Government’s submission includes not only the

Government’s memorandum but also one or more supporting declarations from officials of the U.S.


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intelligence community. The Government’s review of potentially discoverable material is ongoing,

and these officials cannot finalize their declarations until that review is complete.

       3.       Moreover, recent world events in Ukraine have further delayed the Government’s

review and the officials’ preparation of the supporting declaration(s). As a result, the Government

respectfully submits that a modest two-week adjournment request to its CIPA Section 4 filing

deadline is appropriate and would not impact any other deadlines, to include the currently scheduled

trial date. The Government is moving as expeditiously as possible and will file its CIPA Section 4

filing in advance of the proposed adjournment date should that be feasible.




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                                        CONCLUSION

       For the foregoing reasons, the Government respectfully requests that the Court adjourn the

deadline for the government to submit its CIPA Section 4 filing to March 25, 2022.


                                            Respectfully submitted,

                                            JOHN H. DURHAM
                                            Special Counsel

                                            By:

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SO ORDERED.



__________________________________________
THE HONORABLE CHRISTOPHER R. COOPER
UNITED STATES DISTRICT JUDGE
DISTRICT OF COLUMBIA




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